                  CASE 0:09-cr-00298-MJD-KMM                            Doc. 781           Filed 09/28/15               Page 1 of 1
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)            Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                               District of Minnesota

                    United States of America
                               v.                                          )
                                                                           )
          ALEJANDRO VALDOVINOS MANCILLA
                                                                           )
                                                                                Case No:       09-298(02) (MJD)
                                                                           )
                                                                                USM No:
                                                                           )
Date of Original Judgment:         08/09/2010
                                                                           )
Date of Previous Amended Judgment:                                              Katherine Menendez
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of X the defendant ’ the Director of the Bureau of Prisons               the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           ’ DENIED. X GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of 87                months is reduced to 70 months                            .
                                             (Complete Parts I and II of Page 2 when motion is granted)




Except as otherwise provided, all provisions of the judgment dated                     08/09/2010                   shall remain in effect.
IT IS SO ORDERED.

Order Date:          September 28, 2015                                                            s/ Michael J. Davis
                                                                                                         Judge’s signature


Effective Date: 11/1/2015                                                                       Judge Michael J. Davis
                     (if different from order date)                                                    Printed name and title
